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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   10X GENOMICS, INC. and PRESIDENT
   AND FELLOWS OF HARVARD
   COLLEGE,
                    Plaintiffs,
                                                        C.A. No. 22-595 (MFK)
          v.

   VIZGEN, INC.,
                           Defendant.


  MOTION FOR EXEMPTION OF PERSONS FROM THE DISTRICT OF DELAWARE’S
   May 17, 2024 STANDING ORDER ON PERSONAL DEVICES FOR COURTROOM
           TECHNOLOGY SETUP, PRETRIAL CONFERENCE AND TRIAL

         Plaintiff President and Fellows of Harvard College (“Harvard”) moves for an order to

  exempt certain persons from the District of Delaware’s May 17, 2024 Standing Order on

  Procedures Regarding the Possession and Use of Cameras and Personal Electronic Devices by

  Visitors to the J. Caleb Boggs Federal Building and United States Courthouse (the “May 17, 2024

  Standing Order”). In support of this motion the Parties state as follows:

     1. The District of Delaware’s May 17, 2024 Standing Order provides procedures to regulate

         the possession and use of personal electronic devices by visitors to the J. Caleb Boggs

         Federal Building and United States Courthouse, which requires inter alia for visitors to

         place personal electronic devices in a locked pouch provided by U.S. Marshalls. Paragraph

         4 of the May 17, 2024 Standing Order provides for certain exemptions to the Standing

         Order.

     2. A Video Pretrial Conference is currently scheduled for January 27, 2025 and the trial is

         currently scheduled for February 3rd through February 13th, in Courtroom 6A before Judge

         Matthew F. Kennelly, with courtroom technology set up scheduled for January 31st.



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     3. Some members of Harvard’s teams do not meet the exemptions listed in Paragraph 4 of the

        May 17, 2024 Standing Order.

     4. The following persons that intend to appear at the pretrial conference and trial require

        access to their electronic devices, but do not have state issued bar cards or meet the

        exemptions listed in Paragraph 4 of the May 17, 2024 Standing Order:

                        Ruben J. Rodrigues, attorney for Harvard

                        James W. Matthews, attorney for Harvard

                        Geoffrey M. Raux, attorney for Harvard

                        Sarah E. Rieger, attorney for Harvard

                        Jarren N. Ginsburg, attorney for Harvard

                        Amani S. Kmeid, attorney for Harvard

                        Sydney K. Hecimovich, attorney for Harvard

                        Laura Shine, paralegal for Harvard

                        Bridget Gorman, assistant for Harvard

                        Christina, Ellig, Trial Technician for Harvard

                        Andrew Tarver, Trial Technician for Harvard

                        Jason Sabol, Trial Technician for Harvard

                        Bradley Abruzzi, client representative for Harvard

                        Bess, Franzosa, client representative for Harvard

                        Rebecca Eisenberg, witness for Harvard

                        John Puziss, witness for Harvard

                        Robert Stoll, witness for Harvard

                        George Church, witness for Harvard

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                        James Culverwell, witness for Harvard

                        Jordan Grant, witness for Harvard

                        Issac Kohlberg, witness for Harvard

                        Melissa Korf, witness for Harvard

                        Sam Liss, witness for Harvard

                        Grant Zimmermann, witness for Harvard

     5. WHEREFORE, Harvard respectfully requests that the Court issue an order in the form of

         an executed version of this Motion, to exempt certain persons from the District of

         Delaware’s May 17, 2024 Standing Order.



  Dated: January, 16, 2025

                                                     /s/ Kenneth L. Dorsney
                                                   Kenneth L. Dorsney (#3726)
                                                   Cortlan S. Hitch (#6720)
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                                                   Attorneys for Plaintiff
                                                   President and Fellows of Harvard College


  SO ORDERED this ___ day of                , 2025.




                                            United States District Court Judge




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